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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

CHRISTOPHER LOWE HICKLIN DC                       )
PLC d/b/a Clark Road Chiropractic, a              )
Florida limited liability company,                )
individually and as the representative of a       )
class of similarly-situated persons,              )   Civil Action No.: 8:18-cv-01890-SDM-CPT
                                                  )
                               Plaintiff,         )   CLASS ACTION
                                                  )
               v.                                 )
                                                  )
ARP WAVE, LLC,                                    )
                                                  )
                       Defendant.                 )


                                    NOTICE OF SETTLEMENT

       Plaintiff, CHRISTOPHER LOWE HICKLIN DC PLC, hereby gives written notice pursuant

to Local Rule 3.08 to the Court that the parties have reached a settlement in this case that will

resolve all of the issues raised in this dispute and dispose of this entire action. The parties

anticipate filing a Stipulation of Dismissal with Prejudice once the settlement has been finalized,

within the next thirty (30) days.

                                               Respectfully submitted,

                                               CHRISTOPHER LOWE HICKLIN DC PLC,
                                               individually and as the representative of a class of
                                               similarly-situated persons

                                               s/ Ryan M. Kelly
                                               Ryan M. Kelly – FL Bar No.: 90110
                                               ANDERSON + WANCA
                                               3701 Algonquin Road, Suite 500
                                               Rolling Meadows, IL 60008
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 12, 2019, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filings to all
counsel of record.



                                                   /s/ Ryan M. Kelly
